 

 

Provision

supplementary

to sections 5

and 6.

Service of

documents.

 

Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 1 of 13 PagelD 4992

7. (1) Subject to subsection (2), where the Minister obtains articles by virtue of
section 5 or 6, he shall -

(a) unless he retums it pursuant to paragraph (c), not disclose or reveal
to any person the contents or import of the articles or information,
for twenty days commencing on the day on which he obtained the
articles or information;

(b) after the expiry of the twenty Joys if ie articles or information in
his opiaion contains information sought by a request, he may make
copies of such information as relates to the request for onward
transmission to the Competent Authority of the United States: and

(c) whether or not the articles or information contains information
sought by a request, return the articles or information as soon as
practicable to the person from whom he obtained it.

(2) The Minister may extend the time period under paragraph (a) of
subsection (1) for the holding of any article or information without further disclosure in
the event a taxpayer or interested person has objected to the Minister providing the
assistance requested or otherwise seeking judicial review of or other lawful recourse
against an act of the Minster pursuant to section 12.

8. (1) A document to be served under this Act is to be treated as properly
served on the person to whom it is addressed if it is served in the manner provided under
subsection (2).

- (2) The document may be served on or delivered to the person personally or

by being sent by registered post in his name to his last known business or private address.
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 2 of 13 PagelD 4993

cs Ch.2. (3) The time period specified in section 7 of the Interpretation and General
Clauses Act shall not apply to this section.
Offences. 9 (I) A person who -
(a) contravenes subsection (7} of section 5; or
(b) willfully obstructs an officer execuling a warrant under section 6
or a person lawfully accompanying him pursuant to subsection (5)
of that section,

commits an offence.

(2) Any person who, in connection with aiefiuedae information pursuant to
subsection (5) of section 5, wilfully tampers with or alters any information or any vee of
such information so that the information or any part of such information is false when
received by the Minister, commits an offence.

* (3) Any person who wilfully alters, destroys, damages or conceals any
information requested by the Minister pursuant to section 5 commits an offence.

(4) Any person who commits an offence under this section shall be liable on
summary conviction to a fine not exceeding $5,000 or to imprisonment for a term not
exceeding six months or to both.

D

tb
7
oO

sitions, 10,.(1} Where a request so dipudities, the Minister shall obtain the information
etc. sought by the request in the form of -
(a) depositions of witnesses; or
(b) original documents or copies of original documents,
being depositions so made, and documents or copies so certified or
authenticated, as the laws and administrative practices of The Bahamas permit.

@ (2) Regulations shall be made, conferring such functions on such persons as

t Publications and is anby a

pe Agreement Act 2055,

i Garetie which can be obtained [rom Glover

 

at is nacihe CHTicia
tation of The Bahamas and the Untied Seid Tax tnforreation Cx

    
    

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 3 of 13 PagelD 4994

& the regulations may specify, so that full effect can be given to subsection (1).
Advisory 11. (1) The Minister shall establish and maintain a committee, to be known as
Committee. "the Tax Agreement Advisory Committee" for the purpose of advising him on matters of

policy in connection with the performance of his functions under this Act.

(2) The Tax Agreement Advisory Committee ("the Committee") shall consist
of such persons (not fewer than five in number), to be appointed by the Minister, as he
thinks fit, but so that not fewer than three of the Committees’ members shall be persons
appearing to him to be knowledgeable about the matters dealt with in the Agreement.

(3) The Minister shall appoint a person to be the Committee's Chairman.

(4) Subject to Article 3(2) dealing with confidentiality, the Minister may
refer to the Committee any matter mentioned in subsection (1), and shall take into
consideration any advice that the Committee sey tender on that matter.

@ Judicial 12. Nothing in this Act shall exclude or restrict the right of any person
review. aggrieved by the sine by the Minister or any other person with any function
under this Act to challenge the performance of that function, in so far as it affects such
person, either by seeking review of a decision by the Supreme Court or by taking any
other action which is lawfully available.
Regulations. 13. (1} The Minister may make regulations - .
(a) _ prescribing anything that is required or permitted by this Act to be
’ prescribed by regulations, or that the Minister thinks is necessary
to be prescribed for carrying out the provisions of this Act; and
(b) creating offences under this Act and prescribing penalties for such
offences not exceeding the penalties prescribed under section 9.

(2) The provisions of section 31 and 32 of the Interpretation and General

This document is sor the Offlclal Gazette which can be obtained fom Government Publications and is anly a
1 Subd Tax (nformation Exchanee Acreement Act 2903,

 

representation of The Bahamas and the (mise

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 4 of 13 PagelD 4995

() Ch.2. Clauses Act shall not apply in relation to any regulations made by the Minister under this
Act but instead all such regulations shall be subject to affirmative resolution of the
House of Assembly.
G3) in subsection (2), the expression “subject to affirmative resolution of
the House of Assembly” in relation to regulations means that any such regulations are not

to come into operation unless and until approved by a resolution of the House of

~ Assembly,
The Crown. 14, This Act binds the Crown.
SCHEDULE. (section 2)
AGREEMENT BETWEEN

THE GOVERNMENT OF THE COMMONWEALTH OF THE BAHAMAS
AND THE GOVERNMENT OF THE UNITED STATES OF AMERICA
FOR THE PROVISION OF INFORMATION WITH RESPECT TO
O . TAXES AND FOR OTHER MATTERS
-WHEREAS The Bahamas has taken significant steps in the international fight against money

laundering and other financial crimes, and the United States recognizes The Bahamas as a cooperating
country with respect to al! relevant international efforts to counter money laundering activities;

WHEREAS the United States has recognized the efforts on the part of The Bahamas to ensure that
the same financial standards apply in The Bahamas as apply in other recognized international financial
centers;

WHEREAS, the Government of The Bahamas and the Government of the United States (the
“Contracting Parties”), wish to enter into an agreement (the “Agreement”) to establish the terms and
conditions governing the provision of information by the Government of The Bahamas to the Government

of the United States with respect to certain taxes; and

WHEREAS the Contracting Parties wish to enter into a form of agreement that allows United States

     

This document is not the C¥floial Chuzeite which can be obtained from Government Publieations and
representation of The Bahamas and ihe Uried Siakés Tax information Exchanac Agreement Act 2003.

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 5 of 13 PagelD 4996

@ taxpayers to deduct expenses allocable to a convention, seminar or similar meeting held in The Bahamas
in the same manner and to the same degree that such a deduction would be permitted if such meeting were

held in the United States,

NOW, THEREFORE, the Contracting Parties agree as follows:

1: In this Agreement, unless otherwise defined:

a) “civil matter” means an examination, investigation or proceeding relating to United States

federal tax administration and enforcement with respect to conduct that does not constitute
a caine tax offense under the laws of the United States;

b) “Competent Authority” eae

(i) in the case of the United States, the Secretary of the Treasury or bis delegate; and
(ii) in the case of The Bahamas, the Minister of Finance or his delegate;

c) “criminal matter” means an examination, investigation or proceeding concerning conduct
that constitutes a criminal tax offense under the laws of the United States;

d)} “information” means any fact or statement, m any form, that is foreseeably relevant or
material to United States federal tax administration and enforcement, including, but not
limited to,

(i) testimony of an individual, and

(ii) documents or records;
e) “pending matter” means an examination, investigation or proceeding under the federal tax
laws of the United States that is pending at the time the request under Article 2 is made, and

(i) in the case of a criminal matter, relates to a taxable period commencing on or after

January |, 2004; or

 
 
 

This decunient is not the Cilficial Gazeie which can be opined from Government Publicauons and is oniv a

representation ef The Bahamas and che United Sul Tax infgemartios Cachange Aureem

 

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 6 of 13 PagelD 4997

@ (ii) in the case of a civil matter, relates to a taxable period commencing on or after
January 1, 2006;
f) “person” includes ar individual and a partnership, corporation, trust, estate, association or
other legal entity;
g) “privileged communication” means a communication that
(i) is a confidential communication, whether oral or written, passing between-
(a) a seuss and attorney in his or her professional capacity and another counsel
and attorney in such capacity; or
(b) a counsel and attorney in his or her professional capacity and his or her client,
whether made direcily or indirectly through an agent of either;
(ii) is communicated or given to a counsel and attorney by, or by a representative of, a
client of his or hers in connection with the giving by the counsel and attorney of eal

@ advice to the client;

(iii) is made or brought into existence for the purpose of ebiasiniie or giving legal advice

or assistance; and

(iv) isnot made or brought into existence for the purpose of committing or furthering the

commission of some illegal or wrongful act.
hi) “sesident” means:

(i) - acitizen of the United States or any person, other than a company, resident in the
United States for the purpose of United States tax; but in the case of a partnership,
estate or trust, only to the extent that the income derived by such partnership,
estate or trust is subject to United States tax as the income ofa resident, either in
its hands or in the hands of its partners or beneficiaries; and:

a company created under the laws of the United States, any state or the District of

* (ii)

Phis document is not the Official Gazerte which can he obralned from: Government Publleations and is only a

  

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 7 of 13 PagelID 4998

 

Columbia.

i “tax” means all federal taxes in the United States;
jp for purposes of determining the geographical area within which jurisdiction to compe!
production of information may be exercised,
(i) “United States” means the United States of America, including Puerto Rico, the
Virgin Islands, Guam and any other United und possession or territory;

(ii) | “The Bahamas” means The Commonwealth of The Bahamas.

   

1 ‘The Competent Authority of the United States shall only make a request for information
surat to this Article when the Competent Authority of the United States is unable to obtain the requested:
information by other means, having made all fenernatile efforts to do so.
a Upon yevoier of a request made in conformity with the provisions ne this Article, the
@ Competent Authority of The Bahamas shall, subject to the provisions of paragraph 7 of this Article, make
all reasonable efforts to provide to the Competent Authority of the United States information with respect
to United States federal taxes.

Be Any request for information made by the Competent Authority of the United States pursuant
fo this Article shall be made in connection with a pending matter of a United States taxpayer and shall be
framed with the greatest degree of specificity possible. In all cases, such request shal] epeuify in writing
the following:

a) the legal name of the person about whom the request is made;

b) __ the type of information requested;

c) the period of time with respect to which the information is requested;
a) the likely location of the information;
e) the matter under United States federal tax law with respect to which the information

 

 
 

Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 8 of 13 PagelID 4999

4

is sought and whether that matter is criminal or civil in nature; and

f) the reasons for believing that the information requested is foreseeably relevant or
material to United States federal tax administration and enforcement with respect to
the person identified in subparagraph a) of this paragraph.

4, This Article shall not apply to the extent that the requested information:

a) relates to a matter under United States federal tax law that is barred by the applicable
statute of limitations; or
b) constitutes or would reveal a privileged communication.

5. Where the Competent Authority of the United States requests indbemation with respect toa
matter which (i) relates to a person not resident in the United States or (ii) dows not constitute a criminal
matter, a senior official designated by the Secretary of the Treasury of the United States shall certify that
such request is foreseeably relevant or material to the determination of the federal tax liability ofa taxpayer
of the United States or the criminal liability ofa person under the federal tax laws of the United States. If
information is requested relating to persons not resident in the United States, it shall also be established to
the satisfaction of the Competent Authority of The Bahamas that such information is foreseeably relevant
or material to the administration and enforcement of the federal tax laws of the United States.

6. If specifically requested by the Competent Authority of the United States, the Competent
Authority of The Bahamas shall provide information pursuant to this Article in specified forms to be
admissible in judicial or administrative proceedings in the United States to the same extent that such
specified forms can be obtained under the laws and administrative practices of The Bahamas. The specified
forms shall include depositions of witnesses and authenticated copies of original documents, including

books, papers, statements, records, accounts, and writings.

ides Nothing in this Agreement shall be construed so as to impose on the Government of The

Bahamas the obligation to:

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 9 of 13 PagelD 5000

# a) carry out administrative measures at variance with the laws and administrative

practices of The Bahamas;

b) supply particular items of information viliich are not obtainable under the laws or in
the normal course of the administration of The Bahamas,

¢) supply information which would disclose any trade, business, industrial, commercial
or professional secret or trade process, or

d) supply information the disclosure of which swan, in the judgment of the
Government of The Bahamas, be contrary to national security or public policy in The

Bahamas. ’

8. Notwithstanding paragraph 7, the Competent Authority of The Bahamas shall have the
authority to obtain and provide information held by financial institutions, nominees or persons acting in an
‘agency ora fiduciary capacity or information respecting ownership interests in a person.

* » G, In connection with a request for information under this Article:

a) a claim of privilege under the laws of the United States shall be determined
exclusively by the courts of the United States; and
a} a claim of privilege under the laws of The Bahamas shall be determined exclusively

by the courts of The Bahamas. .

Le Information provided to the Competent Authcrity of the United States pursuant to this
Agreement shall be disclosed only to departments, agencies and judicial and administrative bodies of the
Government of the United States, and to employees and agents thereof, involved in the -

a) determination, assessment, and collection of; and

@ °

‘This docurnent is not the Cifficial Gazette which can be obtained from Government Publbeations and & anty a
representation of The Bahamas and the United Sti2Q. Tax infosmaiion Exchange Agrecinent Act 2903.

administration of, the recovery and collection of claims derived from, the

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 10 of 13 PageID 5001

 

enforcement or prosecution in respect of, or the determination of appeals in

respect of;
those United States federal taxes with respect to which the relevant request was made pursuant to this
Agreement, or the oversight of the above. snc departments, agencies and judicial and administrative
bodies, and the employees and agents thereof, shall use such information only for the purposes listed in
this peneeraph, Such departments, agencies and judicial and administrative bodies, and the employees
and agents oweE Hey disclose such information in connection with one proceedings related to those
federal taxes with respect to which the relevant request was made pursuant to this Agreement.

2. The Competent Authority of The. Bahamas shall treat any request for information
received from the United States pursuant fo this Agreement as confidential and shall only disclose tik
information as necessary to carry out its obligations under this Agreement. Such requests may be .
disclosed in connection with court proceedings related to the performance of the obligations of The
Bahamas under this Agreement.

Bi Nothing in this Agreement shall be.construed to permit the Government of the United
States to share information received pursuant to this Agreement with an asency or employee of any
other government,

4, Information that is provided to the Government of the United States pursuant to this
Agreement before January 1, 2006 concerning a criminal matter shall nit be used in connection with any
other matter without prior written consent of the Competent Authority of The Bahamas. With respect to
information that is provided to the Government of the United States pursuant to this Agreement on or
after January 1, 2006, the Competent Authority of the United States shall provide prior written notice to
the Competent Authority of The Bahamas before using such information for a type of United States

federal tax matter other than the one for which it was requested.

tal Gaxeiie which can be cbigined from Government Publications and is oniy a

 
 

reproseniation of The Babames and the Uinted Sadek Tax loformation Exchange Acrcement Act 2083.
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 11 of 13 PagelD 5002

For the purposes of annsfiietine an application by a person in The Bahamas to enter into a Qualified
Intermediary Withholding Agreement (within the meaning of Revenue Procedure 2000-12) with the Internal
Hewenue Service of the United States; The Government of the United States shall certify that The
Commonwealth of The Bahamas has taken significant steps towards achieving effective rules and/or
piackdlites for providing tax information to the United States of America for both civil tax administration
and criminal tax enforcement purposes, and the Internal Revenue Service of the United States of America

has determined The Bahamas’ “know your customer” rules to be acceptable within the meaning of Section

3 of Revenue Procedure 2000-12.

au

Peg BORO ES Sy sh) CON gt ob RT TY
foe BGR SUN Sorin, £ag e288 SEE ASE

“de

ARTICLE
A United States taxpayer may deduct from income costs incurred with respect to attendance at a
conference or convention held in The Bahamas in the same manner and to the same extent that such

* taxpayer is permitted to deduct such costs with respect to attendance at a conference or convention held in

the United States.
SRTECLE &- ADRESS TRATIVE PRE IVISEINS
1. The Competent Authorities of the Contracting Parties shall enter into an agreement (the
"Competent Authority Agreement”) regarding implementation of this Agreement.
Z. The Competent Authorities ebthe Contracting Parties shall endeavor to vessdlve by mutual
agreement any disputes atiging as to the interpretation or application of this Agreement.

Be The Competent Authorities of the Contracting Parties may communicate directly for the

purposes of reaching an agreement under this Article.

4, The Government of the United States sha!! reimburse the Government of The Bahamas for
all direct costs incurred in providing information pursuant to this Agreement as provided in the Competent
oD Authority Agreement. The Competent Authorities of the Contracting Parties shall consult from time to time

‘Lhis docniment is net the Official Gazette which can be obtained (han Government Publications and is only a

ation cf The Bahamas end the United SeB2 Tax ints nmation Exvhange Agreement Act 2063,

 

reprose

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 12 of 13 PagelD 5003

“

@ with a view to minimizing such costs.

1. This Agreement shall enter into force upon er exchange of notes by the duly authorized
representatives of the Contracting Parties, confirming their remeanet that both sides have met the
constitutional and statutory requirements necessary to effectuate this Agreement.

Zs The provisions of Articles 2 and 3 shall ae effect -

a) on January 1, 2004 with respect to requests for information made in connection
with a criminal matter; and

b) on January 1, 2006 with respect to requests for information made in connection
with a civil matter.

3 The provisions of Article 5 shall take effect on January 1, 2006.

« 4. The provisions of this Agreement, with the exception of those identified in paragraphs 2
and 3 of this Article, shall take effect upon the entry into force of this Agresmieit
5. The effective date provisions set forth in paragraph 2 of this Article are established in the
expectation that the United States will enter into arrangements with certain other off-shore financial

centers for the provision of information with respect to taxes. If the United States has not entered into

 

such arrangements by January 1, 2004, or if the United States, at any inne, enters into such
arrangements that differ in materia] respect from the provisions of this Agreement, the Goverment of
The Bahamas and the Government of the United States shal! hold consultations concerning appropriate
modifications to this Agreement.

6. If, at any time after the entry into force of this Agreement, the Organization for Economic

Cooperation and Development or other international organization develops a model agreement on tax

information exchange, a Contracting Party may propose modifications to this Agreement for the purpose

this document is pot the Official Gazette which can be abtained trom Goveranient Publications and is only a

representation of The Bahamas and the United Sra23 Tax (aformation Exchange Agreement Act 2003.

 
Case 2:13-cr-00072-SPC-NPM Document 184-2 Filed 04/28/14 Page 13 of 13 PagelD 5004

*.

© of bringing this Agreement into conformity with the model agreement. Upon receipt of such a proposal,
the other Contracting Party shall enter into good faith negotiations concerning the proposal.

7. This Agreement shall remain in force until terminated by one of the Contracting Parties.
Either Contracting Party may terminate this Agreement at any time upon three months prior written

notice transmitted through diplomatic channels.

IN WITNESS WHEREOF, the undersigned, being duly authorized by their respective governments,

have signed this Agreement.

DONE at Washington, in duplicate, this twenty-fifth day of January, 2002.

FOR THE GOVERNMENT FOR THE GOVERNMENT

OF THE COMMONWEALTH OF THE UNITED STATES
@ OF THE BAHAMAS: . OF AMERICA: ,

Sed: William C. Allen Sed: Paul A.'O’Neill

Minister of Finance Secretary of the Treasury

 

nian Puolicalions aint is only é

 
     

vhich can be obtained from Geoverr

representation of The Baharmiss and the (nied Sid Tax information Exchange Agreement Act 2003.

‘this ducumentis not die Official Ciazel

 
